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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                         )
                                                   )
                                                   )
                v.                                   CRIMINAL NO.: 1:16-CR-229
                                                   )
  RUBEN OSEGUERA-GONZALEZ,                         )
       also known as “Menchito,”                   )
                                                   )
       “Rubencito,” “Rojo,” “Ruso,”
                                                   )
       “Junior,” and “El Nino,”
                                                   )
                             Defendant.            )
                                                   )


             JOINT MOTION TO SET TRIAL DATE AND EXCLUDE TIME

       The parties, by and through the undersigned attorneys, respectfully submit this Joint

Motion to Set Trial Date and to Exclude Time Under the Speedy Trial Act. The parties

respectfully request that a trial date be set in this case for May 2023. The government expects

trial to last four weeks. If the Court grants this motion, the parties have agreed to submit a

Proposed Joint Scheduling Order for the Court’s consideration.

       The parties request that the next status conference in this case, scheduled for June 10,

2022, at 9:30 a.m., be adjourned.

       The last status conference in this matter was held on June 24, 2020. Subsequent status

conferences were scheduled for September 11, 2020, December 11, 2020, March 4, 2021, June 4,

2021, September 10, 2021, and December 10, 2021, and March 11, 2022, but were continued for

90 days at the request of the parties. Since that time, the parties have continued to discuss the

overall posture of this case, including likely motions and trial schedules, and have continued to

produce and review discovery. Among other things, much of the discovery in this case is in

Spanish and therefore requires additional effort to meaningfully review and translate for the
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parties’ use. Potential witnesses are also located outside of this District and outside of the United

States, further complicating the parties’ efforts to investigate and prepare in advance of trial.

The parties are continuing to evaluate and discuss whether a resolution of this matter can be

reached short of trial.

       The parties additionally request that the Court exclude time from June 10, 2022 to the

scheduled trial date from the Court’s calculation of the time within which trial should commence

pursuant to 18 U.S.C. § 3161(h)(7)(A). Specifically, the parties submit that this would serve the

ends of justice by affording counsel for both the defendant and the government reasonable time

necessary for effective preparation for trial. Accordingly, the ends of justice served by a tolling

of the Speedy Trial clock until the trial date outweigh the interests of the public and the

Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7)(b)(i) and (ii). A proposed order is

attached.

                                               Respectfully submitted,


 /s/Danny Onorato                              ARTHUR G. WYATT, Chief
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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of this motion has been served by electronic mail on counsel
for the Defendant this 1st day of June, 2022.


                                                    /s/
                                                    Kate Naseef
                                                    Trial Attorney
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                                                    2 Constitution Square
                                                    Washington, DC 20530




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